                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       1:17-cr-79
                                                      )
 v.                                                   )       Judge Mattice/Lee
                                                      )
 JEREMY WOODS,                                        )
     Defendant.                                       )



                  DEFENDANT’S UNOPPOSED MOTION TO CONTINUE

        Defendant, JEREMY WOODS, by and through his undersigned counsel, and pursuant to

 Local Rule 38.2 of this Court, Rule 45 of the Federal Rules of Criminal Procedure, and 18

 U.S.C. §3161, hereby moves this Court to continue his trial date and all associated pre-trial dates

 in this case for 90 days. The undersigned has consulted with the Assistant United States

 Attorney prosecuting this case, who has advised the undersigned that he does not object to this

 motion. As grounds, the Defendant states the following:

        1.      The undersigned counsel was appointed as CJA counsel to represent the

 Defendant in this case.

        2.      Despite diligent effort over an extended period of time, the parties have been

 unable to reach a mutually acceptable plea agreement to resolve this matter.

        3.      Presentation of the defense in this case will require counsel to subpoena a number

 of witnesses, potentially secure the transportation of one or more witnesses in the custody of the

 Bureau of Prisons.




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        4.      Counsel requires additional time to determine whether appointment of an expert is

 necessary to challenge the Government’s expected evidence of recorded telephone calls, and for

 any such expert to perform work if required.

        5.      The undersigned will be absent from the jurisdiction in mid-February, 2018 for

 scheduled hearings in the Memphis Immigration Court, and expects to be absent from the

 jurisdiction at the end of March, 2018 for trial of a murder case in the Circuit Court of Okaloosa

 County, Florida.

        6.      Given the above, the undersigned is of the opinion that additional time is required

 to prepare the Defendant’s case for trial.

        7.      The Assistant United States Attorney prosecuting this case has advised the

 undersigned that he does not object to this continuance request.

        8.      Denying the requested continuance would deny the Defendant the reasonable time

 necessary for effective preparation and retention of the counsel of his choice, taking into account

 the exercise of due diligence.

        9.      This motion is brought in good faith and not for the purpose of unreasonable

 delay. If granted, the Defendant waives speedy trial for the period of the continuance.

        10.     Further grounds will be stated ore tenus or in an amended motion as required.




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        WHEREFORE, in consideration of the foregoing, the Defendant respectfully requests

 that his trial date be continued, and that the intervening dates addressed in the Court’s scheduling

 order for filing of motions, plea bargaining, jury instructions, and pretrial conference be re-set

 accordingly.

                                                       Respectfully submitted,
                                                       JEREMY WOODS
                                                       By counsel:

                                                       /s/ Martin W. Lester
                                                       Martin W. Lester
                                                       BPR # 31603
                                                       LESTER LAW
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                                                       Hixson, TN 37343
                                                       (423) 402-0608
                                                       martin@lesterlaw.org
                                                       Attorney for Defendant


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 29th of December, 2017, I caused a true and correct
 copy of the foregoing to be served via CM/ECF on Assistant United States Attorney Christopher
 Poole.


                                                       /s/ Martin W. Lester
                                                       Martin W. Lester




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